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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABC CORPORATION and
DEF CORPORATION,                                       Case No. 22-cv-05582

                       Plaintiffs,                     Judge Ronald A. Guzman
       v.
                                                       Magistrate Judge Sheila M. Finnegan

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


                 EXTENSION OF TEMPORARY RESTRAINING ORDER

       THIS CAUSE being before the Court on Plaintiffs ABC Corporation and DEC

Corporation’s (“Plaintiffs”) Ex Parte Motion to Extend the Temporary Restraining Order against

the fully interactive e-commerce stores operating under the seller aliases identified in Schedule A

to the Complaint (the “Seller Aliases”), and this Court having heard the evidence before it hereby

GRANTS Plaintiffs’ Ex Parte Motion and orders that the Temporary Restraining Order (“TRO”)

entered on October 18, 2022 shall be extended for a period of fourteen (14) days until November

15, 2022, and shall apply to the Defendants identified in Schedule A attached to the TRO with the

exception of any dismissed Defendants.

       Rule 65(b)(2) states that a temporary restraining order entered without notice may be

extended provided a party can show, prior to the expiration of the order, good cause for such an

extension. Fed. R. Civ. P. 65(b)(2). This Court finds good cause for an extension and that

additional time is needed before a preliminary injunction hearing can be held in this case for at

least the reasons stated herein. Specific facts in the Declaration of Martin F. Trainor showed that


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additional time is needed for third parties to comply with the TRO. Good cause also exists for the

extension because there is a high probability that the Defendants will continue to harm Plaintiffs

without the TRO in place. Specifically, Defendants will likely attempt to move any assets from

their financial accounts to offshore accounts. As found in granting the TRO, this possibility of

harm is significant. Accordingly, in the interest of justice, extension of the TRO is necessary.

       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) is

appropriate because Plaintiffs have presented facts in the Declaration of Paul Varley included with

Plaintiffs’ Ex Parte Motion for Entry of a Temporary Restraining Order and accompanying

evidence clearly showing that immediate and irreparable injury, loss, or damage will result to the

movant before the adverse party can be heard in opposition. Specifically, in the absence of an ex

parte order, Defendants could and likely would move any assets from Defendants’ accounts in

U.S.-based financial accounts to offshore accounts.        As this Court and other courts have

recognized, proceedings against those who deliberately traffic in counterfeit merchandise are often

useless if notice is given to the adverse party. Accordingly, this Court orders that the TRO shall

be extended for a period of fourteen (14) days until November 15, 2022.




Entered on October 28, 2022.


                                                             ______________________________
                                                             Ronald A. Guzman
                                                             United States District Judge




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